




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS





ALLEGHENY CASUALTY COMPANY
and KAILA M. JENKINS,


                            Appellants,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-08-00033-CV



Appeal from the


204th District Court



of Dallas County, Texas 


(TC# F06-68098-Q)




MEMORANDUM OPINION



	This appeal is before the Court on its own motion for determination whether the appeal
should be dismissed for want of jurisdiction.  Finding that Appellants did not timely file the notice
of appeal, we dismiss the appeal for want of jurisdiction.

	A civil appeal is perfected when the notice of appeal is filed.  Tex.R.App.P. 26.1; see
Restrepo v. First Nat'l Bank of Dona Ana County, N.M., 892 S.W.2d 237, 238 (Tex.App.--El Paso
1995, no writ)(applying former Tex.R.App.P. 40(a)(1)).  When no motion for new trial or request
for findings of fact or conclusions of law is filed, the notice of appeal must be filed within thirty days
after the judgment is signed.  Tex.R.App.P. 26.1; Restrepo, 892 S.W.2d at 238.  When a motion for
new trial is timely filed, the notice of appeal is due within ninety days after the judgment is signed. 
See Tex.R.App.P. 26.1(a)(1).  A notice of appeal is considered timely if filed within fifteen days of
the due date and accompanied by a reasonable explanation for the failure to file on the due date. 
Verburgt v. Dorner, 959 S.W.2d 615, 617 (Tex. 1997).

	The trial court signed the judgment on June 28, 2007 and Appellants did not file a motion
for new trial.  Thus, the notice of appeal was due to be filed no later than July 28, 2007.  Appellants
did not file their notice of appeal until September 25, 2007.  Therefore, Appellants did not timely
perfect the appeal.  By letter dated January 14, 2008, this Court gave Appellants notice of our intent
to dismiss this appeal because the appeal had not been perfected.  Tex.R.App.P. 42.3.  We have
received no response from Appellants.  Accordingly, we dismiss the appeal for want of jurisdiction.



March 27, 2008					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Carr, JJ.


